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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 DONALD DOYLE,

 Plaintiff,                                            Case No. 1:17-cv-09097

 v.                                                    Honorable Judge Sara L. Ellis

 SYNERGETIC COMMUNICATION, INC.
 a/k/a SYNERGETIC COMMUNICATIONS, INC.
 d/b/a SYNCOM, ALLY FINANCIAL, INC. a/k/a
 ALLY FINANCIAL a/k/a BLUEYIELD
 a/k/a BLUEHARBOR FINANCIAL a/k/a
 CLEARLANE FINANCIAL SERVICES, ALLY
 SERVICING, LLC, and ALLY BANK,

 Defendants.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES the Plaintiff, DONALD DOYLE (“Plaintiff”), by and through his attorneys,

SULAIMAN LAW GROUP, LTD., and, in support of his Notice of Voluntary Dismissal with

Prejudice, state as follows:

        Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby

voluntarily dismisses his claims against the Defendants, SYNERGETIC COMMUNICATION,

INC. a/k/a SYNERGETIC COMMUNICATIONS, INC. d/b/a SYNCOM, ALLY FINANCIAL,

INC. a/k/a ALLY FINANCIAL a/k/a BLUEYIELD a/k/a BLUEHARBOR FINANCIAL a/k/a

CLEARLANE FINANCIAL SERVICES, ALLY SERVICING, LLC, and ALLY BANK., with

prejudice. Each party shall bear its own costs and attorney fees.

Dated: February 19, 2018




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                                              Respectfully Submitted,

                                              /s/ Omar T. Sulaiman
                                              Omar T. Sulaiman
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